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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

                                     Alexandria Division

UNITED STATES OF AMERICA,                   )
                                            )
              v.                            )              Case No. 1:21-cr-00245-AJT
                                            )
IGOR Y. DANCHENKO,                          )
                                            )
                      Defendant.            )

                    DEFENDANT IGOR DANCHENKO’S
     MOTION IN LIMINE TO LIMIT THE TESTOMONY OF CHARELS DOLAN

       For the reasons detailed below, Defendant Igor Danchenko, by and through counsel,

respectfully submits this Motion in Limine to preclude evidence, testimony, or argument that

Charles Dolan jokingly and baselessly speculated that Igor Danchenko may have been associated

with the Russian government.

                                      INTRODUCTION

       Based upon statements by the Special Counsel at the motions hearing before the Court on

September 29, 2022, and information included in the proposed trial exhibits submitted by the

Special Counsel, it appears that the Special Counsel intends to present evidence and testimony

concerning Charles Dolan’s speculative belief that Mr. Danchenko may have worked for the

Russian government. See Government Exhibit 709 (June 10, 2016 Email) (“[Mr. Danchenko] is

too young for KGB. But I think he worked for FSB [Russian Federal Security Service]. Since he

told me he spent two years in Iran. And when I first met him he knew more about me that I did. ;-

)”; see also Government Exhibit 717 (January 13, 2017 Email) (“I’ve been interviewed by the

Washington Post and the London Times – three times over the last two days over the MI-6 Dossier

on Trump and I know the Russian agent who made the report. (He used to work for me)”).



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        The exhibits and any testimony or argument concerning Mr. Dolan’s conjecture is wholly

irrelevant, inadmissible, and unreliable. In addition, Mr. Dolan’s “half-joking” comments to third

parties are far more prejudicial than probative and must be excluded under the Fed. R. Evid. Rule

403 balancing test.

        First, the evidence has no bearing on the only issue before the jury with respect to Mr.

Dolan, which is simply whether Mr. Danchenko had “talked” with Mr. Dolan about any specific

information contained in the Company Reports. Second, undermining any credible claim of

reliability and admissibility, the email on its face suggests that Mr. Dolan was joking when he

wrote it because he included a winking smile emoticon at the conclusion of the June 10, 2016

email. Third, Mr. Dolan explained to investigators that when he made reference to Mr. Danchenko

as a Russian agent, “he was just having some fun with an old friend, but there was some truth

there, however [he] could not be 100% sure.” (Notes of September 7, 2021, Interview of Charles

Dolan).1 Fourth, Mr. Dolan’s reference to Mr. Danchenko’s alleged work in Iran is irrelevant to

the single charged false statement concerning Mr. Dolan. Finally, Mr. Dolan’s joking conclusion

should be seen for what it is; a prejudicial conclusion based on Mr. Danchenko’s status as an ethnic

Russian national. This wholly irrelevant and prejudiced attempt at humor has no place in a criminal

trial. By reference, Mr. Danchenko incorporates and adopts the arguments raised in Docket 84,

his Opposition to the Government’s Motion in Lime to exclude evidence of a similar nature.

                                              ARGUMENT

        One “revered and longstanding policy” in our criminal justice system is that “an accused

is tried for what he did, not who he is.” United States v. Hall, 858 F.3d 254, 266 (4th Cir. 2017)



1
  In his initial interview with investigators on August 31, 2021, Dolan “stated that he never had a
feeling that Danchenko was a Russian intelligence officer. [He] stated, he ‘had no reason to believe
it,’ and it ‘never crossed my mind.’” (Notes of August 31, 2021, Interview of Charles Dolan).
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(quoting United States v. Caldwell, 760 F.3d 267, 276 (3d Cir. 2014)) (emphasis in original).

Therefore, the general prohibition against admitting character evidence in Federal Rule of

Evidence 404(b) “protects against juries trying defendants for prior acts rather than charged acts.

Id. (quoting United States v. Queen, 132 F.3d 991, 997 (4th Cir. 1997)) (emphasis in original).

        Character evidence often offers only “slight probative value and may be very prejudicial.

It tends to distract the trier of fact from the main question of what actually happened […]. It subtly

permits the trier of fact to reward the good man and to punish the bad man because of their

respective characters despite what the evidence in the case shows actually happened.” See Fed. R.

Evid. 404 (Advisory Committee Notes, 1972 Proposed Rules).

        To protect defendants from the risk of prejudice associated with character evidence, the

Government bears the burden to prove that the prior alleged bad act is admissible for a “proper,

non-propensity purpose,” such as to prove “motive, opportunity, intent, preparation, plan,

knowledge, identity, absence of mistake, or lack of accident.” Id. (quoting Fed. R. Evid. 404(b)(2)).

To satisfy this burden, the Government must prove the evidence is “relevant to an issue, such as

an element of an offense,” and not to “establish the general character of the defendant.” Id. (citing

Queen, 132 F.3d at 997). The Government must also demonstrate that evidence is necessary in the

sense that it is probative of an essential claim or element of the offense, that the evidence is reliable,

and that the probative value not substantially outweighed by confusion or unfair prejudice. Id.

        The proffered evidence and testimony do not fit into any rule that would permit its

admission and is also excludable pursuant to the Rule 403 balancing test. The Court should

exclude “evidence if its probative value is substantially outweighed by a danger of one or more of

the following: unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting

time, or needlessly presenting cumulative evidence. no bearing on an issue before the jury.” Fed.



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R. Evid. 403.

       Here, the Rule 403 factors heavily favor excluding Mr. Dolan’s baseless and prejudiced

speculation. Mr. Dolan’s joking and theoretical emails would unfairly prejudice Mr. Danchenko,

confuse the issues to be decided at trial, mislead the jury based on a groundless conclusion by a

lay witness with no actual knowledge, and would have no bearing on any issue before the jury. As

such, there is no basis for admission of the proposed exhibits and related testimony.

                                            CONCLUSION

       Based on the foregoing, Defendant Igor Danchenko respectfully requests that this Court

grant this Motions in Limine and preclude the Special Counsel from presenting any evidence

(including the emails contained in Proposed Trial Exhibits 709 and 717), testimony, or argument

concerning Mr. Dolan’s prejudiced and baseless joke that he believed Mr. Danchenko might have

been affiliated with the Russian government.



Dated: October 1, 2022                         Respectfully submitted,

                                               IGOR DANCHENKO
                                               By Counsel

                                                       /s/
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 3, 2022 I electronically filed a true and accurate copy of

the foregoing motion with the Clerk of Court using the CM/ECF system, which will send automatic

notice of such filing to all counsel for record.



                                                       /s/
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